      Case 8:22-bk-10948-SC        Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59         Desc
                                   Main Document     Page 1 of 16


 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
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 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           SUPPLEMENT       TO    DEBTORS’
                                                       EMERGENCY MOTION FOR ENTRY
15
15    FITNESS ANYWHERE LLC, a Delaware                 OF AN ORDER AUTHORIZING THE
16    limited liability company, dba TRX and TRX       DEBTORS       TO    USE    CASH
16
      Training,                                        COLLATERAL PURSUANT TO 11
17
17                                                     U.S.C. §§ 361, 362 AND 363 AND
              Debtor and Debtor in Possession.         GRANTING              ADEQUATE
18
18    ____________________________________             PROTECTION       AND    RELATED
                                                       RELIEF
19
19
20       Affects both Debtors                          DATE:      June 30, 2022
20
                                                       TIME:      10:00 a.m.
21
21      Affects TRX Holdco, LLC only                   PLACE:     *Via ZoomGov
                                                                  Courtroom 5C
22
22       Affects Fitness Anywhere, LLC only                       411 West Fourth Street
                                                                  Santa Ana, CA 92701
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      Case 8:22-bk-10948-SC        Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59              Desc
                                   Main Document     Page 2 of 16


 11          At a hearing held on June 10, 2022, at 10:00 a.m. (Pacific Time), the Court granted the

 22   motion (“Motion”) (Doc 7), filed by TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere

 33   LLC, dba TRX and TRX Training (“Product Co” and, together with Hold Co, the “Debtors”),

 44   the debtors and debtors-in-possession in the above-captioned, jointly-administered, Chapter 11

 55   bankruptcy cases, as modified with the consent of the Debtors’ secured lender, Woodforest

 66   National Bank (the “Bank”). The Court entered an interim order, the form of which had been

 77   agreed to by the Debtors and the Bank, on June 10, 2022 as Doc 38.

 88          Attached to the Motion were 13-week cash flow budgets for the Debtors (the “Budgets”).

 99   The interim cash collateral order provided for the Debtors to file any desired supplement to the
10
10    Motion, including any proposed modifications to the Budgets, by June 15, 2022. The Debtors
11
11    are working closely with the Bank in regards to the Budgets as well as prospective debtor-in-
12
12    possession financing to be provided by the Bank to the Debtors.
13
13           With the development of new information, the Debtors needed to update and refine the
14
14    Budgets. Due to various logistical and scheduling issues, the Debtors and the Bank were not
15
15    able to schedule their meeting to review the Debtors’ proposed amended Budgets until Friday,
16
16    June 17, 2022. The Debtors therefore requested the Bank to agree to extend the deadline for the
17
17    Debtors to file their amended Budgets to June 17, 2022 to provide the Debtors the opportunity to
18
18    review the amended Budgets with the Bank, and hopefully reach agreement with the Bank,
19
19    before the Debtors filed the amended Budgets with the Court.
20
20           Attached hereto as Exhibit “1” is a copy of the amended Budgets that have been
21
21    presented to the Bank. The Debtors intend to work collaboratively with the Bank in making all
22
22    reasonable efforts to reach agreement with the Bank on the amended Budgets. The Debtors
23
23    reserve the right to file any further amendments to the Budgets as the Debtors deem appropriate
24
24    as the facts and circumstances of these bankruptcy cases is a continuously evolving process. As
25
25    compared to the original Budgets that were filed with the Court on June 8, 2022 which covered a
26
26    thirteen week period (Weeks 1 – 13) beginning on the Petition Date, the amended Budgets
27
27    attached hereto extend through the fourteenth week after the Petition Date (Weeks 2 – 14)
28
28    beginning on the Petition Date.


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      Case 8:22-bk-10948-SC         Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                 Desc
                                    Main Document     Page 3 of 16


 11          The following is a summary of the key revisions contained in the amended Budgets as

 22   compared to Weeks 1 – 13 of the original Budgets that were attached to the Motion1:

 33           1. Increase in beginning cash for Week 1 in the amount of $119,292;

 44           2. Decrease in receipts for Week 1 in the amount of $354,6542;

 55           3. Addition of inventory purchases in the amount of $300,000; and

 66           4. Net increase in vendor disbursements in the total amount of $452,591 (after taking

 77               into account decrease of $1,871 of utilities expenses), in primarily the following

 88               categories, and including as a result of demands by certain vendors for prepayments

 99               and increases in monthly rates:
10
10                   a. Contractor expenses, including for IT and sales support ($220,346);
11
11                   b. Commissions (based on sales) ($30,000);
12
12                   c. Growth initiatives ($1,666)
13
13                   d. Insurance obligations ($29,102);
14
14                   e. Marketing expenses ($19,684);
15
15                   f. Non-bankruptcy “professionals” ($1,789);
16
16                   g. “Other” expenses comprised of trade show/event costs and a bank account
17
17                       analysis fee ($43,891);
18
18                   h. Payroll ($1,652);
19
19                   i. Technology services ($46,332); and
20
20                   j. Payments to the Debtors’ United Kingdom affiliate for the purpose of funding
21
21                       affiliate’s expenses, including tax obligations ($60,000).
22
22           These increases for Weeks 1 – 13 total $454,462. After taking into account a reduction
23
23    of $1,871 for utilities expenses, the net increase in vendor disbursements totals $452,591.
24
24
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      1
26       In addition to these changes, the amended Budgets attached hereto include Week 14
26
      projections.
      2
27
27      Projected amounts in original Budgets included amounts already collected by the Debtors. The
      Debtors were projected to receive $560,000 and actually collected $461,000 in the five-day
28
28    period covered by Week 1 of the Budgets.


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      Case 8:22-bk-10948-SC   Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59       Desc
                              Main Document     Page 4 of 16


 11
      Dated: June 17, 2022                TRX HOLDCO, LLC
 22                                       FITNESS ANYWHERE LLC
 33
                                          By:   /s/ Krikor J. Meshefejian
 44                                             RON BENDER
                                                KRIKOR J. MESHEFEJIAN
 55                                             LINDSEY L. SMITH
                                                LEVENE, NEALE, BENDER,
 66                                             YOO & GOLUBCHIK L.L.P.
 77                                             Proposed Attorneys for Chapter 11 Debtors
                                                and Debtors in Possession
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Case 8:22-bk-10948-SC   Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59   Desc
                        Main Document     Page 5 of 16




                    EXHIBIT "1"
                Case 8:22-bk-10948-SC                                    Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                                                        Desc
                                                                         Main Document     Page 6 of 16
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 17, 2022
$USD
                            Week -->                                           Week 2             Week 3             Week 4             Week 5            Week 6             Week 7             Week 8
                            From -->                                          6/13/2022          6/20/2022          6/27/2022           7/4/2022         7/11/2022          7/18/2022          7/25/2022
                         Week-Ending -->                                      6/19/2022          6/26/2022           7/3/2022          7/10/2022         7/17/2022          7/24/2022          7/31/2022
PRODUCTCO
Beginning ProductCo Cash Balance                                          $      1,136,840   $      1,366,842   $      1,333,294   $       822,910   $       935,992    $      1,387,137   $      1,710,505
 Ecommerce NA & UK                                                        $       102,714    $       102,714    $       108,835    $       108,835   $       108,835    $       108,835    $       108,835
 Amazon FBA International                                                             -               24,989                -               24,989               -               24,989                -
 Amazon FBA NA                                                                    312,235                -              436,970                -             436,970                -              436,970
 Transfers from Non-Debtor Affiliate (Japan)                                          -                  -                5,000                -                 -                  -                5,000
 Accounts Receivables Collections                                                 531,169            482,981            479,037            526,556           550,738            500,775            514,626

   TOTAL PRODUCTCO SOURCES                                                $       946,118    $       610,684    $      1,029,842   $       660,381   $      1,096,544   $       634,600    $      1,065,432
 Payroll, Payroll Tax & Benefits - ProductCo                              $       244,274    $           -      $       242,267    $           -     $       242,267    $           -      $       231,981
 Commission - ProductCo                                                               -                  -               30,000                -                 -                  -               30,000
 Inventory Purchases - ProductCo                                                      -              300,000                -                  -                 -                  -                  -
 Contractors - ProductCo                                                          102,796             23,500            152,750             40,500            87,400             40,500            152,750
 Key Consultants - ProductCo                                                          -                  -                8,889                -                 -                  -                8,889
 Rent - ProductCo                                                                     -                  -               47,500                -                 -                  -               47,500
 Marketing - ProductCo                                                             50,000             50,000            624,000                -                 -                  -              774,000
 Insurance - ProductCo                                                             37,381             20,000             27,839             16,068            20,000             20,000             27,839
 Logistics - ProductCo                                                            128,982            128,982            128,982            128,982           128,982            128,982            128,982
 Professionals - ProductCo                                                            -                  -               18,350             50,000               -                  -               18,350
 Technology - ProductCo                                                             4,332                -               24,400             90,000               -                  -               15,500
 Utilities - ProductCo                                                              1,129                -                3,000                -                 -                  -                3,000
 Other Expenses, Vendors - ProductCo                                               86,850             75,000            130,500             75,000            75,000             75,000             90,000
 Sales tax - ProductCo                                                                -                  -                  -              100,000               -                  -              100,000
 Payments to UK Affiliate(1) - ProductCo                                              -               30,000                -               30,000               -               30,000                -
 Management Payroll - Transfer to HoldCo - ProductCo                               60,372                -               75,000                -              75,000                -               75,000
 Cross-Border Vendors - ProductCo                                                     -               16,750             26,750             16,750            16,750             16,750             26,750
 BK Professional Fees(2) - ProductCo                                                  -                  -                  -                  -                 -                  -                  -
 US Trustee Fees - ProductCo                                                          -                  -                  -                  -                 -                  -                  -

   TOTAL PRODUCTCO DISBURSEMENTS                                          $       716,116    $       644,232    $      1,540,226   $       547,300   $       645,399    $       311,232    $      1,730,540

PRODUCTCO - CASH ROLLFORWARD
Beginning PRODUCTCO Cash Balance                                          $      1,136,840 $        1,366,842 $        1,333,294 $          822,910 $         935,992 $        1,387,137 $        1,710,505
(+) ProductCo Receipts                                                             946,118            610,684          1,029,842            660,381         1,096,544            634,600          1,065,432
(-) ProductCo Disbursements                                                       (716,116)          (644,232)        (1,540,226)          (547,300)         (645,399)          (311,232)        (1,730,540)
Ending ProductCo Cash Balance                                             $      1,366,842   $      1,333,294   $       822,910    $       935,992   $      1,387,137   $      1,710,505   $      1,045,396

Change in ProductCo Cash from Previous Week                               $       230,002    $        (33,547) $        (510,384) $        113,081   $       451,145    $       323,368    $       (665,109)




Inventory Rollforward
Beginning Inventory                                                       $     17,960,993 $       17,469,394 $       17,452,323 $       16,881,997 $      16,562,152 $       15,991,989 $       15,672,143
(+) Purchases                                                                          -              300,000                -                  -                 -                  -                  -
(-) Cost of Goods                                                                 (491,599)          (317,070)          (570,326)          (319,845)         (570,163)          (319,845)          (570,163)
= Ending Inventory                                                        $     17,469,394 $       17,452,323 $       16,881,997 $       16,562,152 $      15,991,989 $       15,672,143 $       15,101,981

Accounts Receivable Rollforward (3)
Beginning AR                                                              $      4,467,123 $        4,462,171 $        4,505,407 $        4,552,588 $       4,551,909 $        4,527,048 $        4,552,150
(+) Sales (Domestic Commercial, Retail, Government, Intl. Dist.)                   526,218            526,218            526,218            525,877           525,877            525,877            525,877
(-) Collections (Domestic Commercial, Retail, Government, Intl. Dist.)            (531,169)          (482,981)          (479,037)          (526,556)         (550,738)          (500,775)          (514,626)
= Ending AR                                                               $      4,462,171 $        4,505,407 $        4,552,588 $        4,551,909 $       4,527,048 $        4,552,150 $        4,563,401

Notes
(1) Current payroll and current VAT / other taxes. There is approximately an additional 80,000 GBP outstanding related to VAT.
(2) There are no bankruptcy professional payments in this forecast.
(3) The AR Rollforward does not include sales and collections activity relating to Ecommerce and Amazon.
- This budget does not reflect the proceeds or use of any DIP financing nor carve-outs arising thereof.
- Information has been sourced from management and the Company's books and records. This information has not been audited or independently verified.
               Case 8:22-bk-10948-SC                                     Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                                                            Desc
                                                                         Main Document     Page 7 of 16
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 17, 2022
$USD
                            Week -->                                          Week 9            Week 10            Week 11            Week 12            Week 13            Week 14
                                                                                                                                                                                            Current Rolling
                            From -->                                          8/1/2022          8/8/2022           8/15/2022          8/22/2022          8/29/2022          9/5/2022
                                                                                                                                                                                              13 Weeks
                         Week-Ending -->                                      8/7/2022          8/14/2022          8/21/2022          8/28/2022          9/4/2022           9/11/2022
PRODUCTCO
Beginning ProductCo Cash Balance                                          $     1,045,396   $      1,378,427   $      1,742,939   $      2,103,241   $      2,408,665   $      1,706,963    $    1,136,840
 Ecommerce NA & UK                                                        $       108,566   $       108,566    $       108,566    $       108,566    $       108,566    $       121,338     $    1,413,769
 Amazon FBA International                                                          24,989               -               24,989                -               24,989                -              149,936
 Amazon FBA NA                                                                        -             304,444                -              304,444                -              296,369          2,528,402
 Transfers from Non-Debtor Affiliate (Japan)                                          -                 -                  -                  -                5,000                -               15,000
 Accounts Receivables Collections                                                 565,676           591,654            537,979            514,626            565,920            591,910          6,953,649

   TOTAL PRODUCTCO SOURCES                                                $       699,231   $      1,004,664   $       671,534    $       927,636    $       704,475    $      1,009,617    $   11,060,756
 Payroll, Payroll Tax & Benefits - ProductCo                              $           -     $       231,981    $           -      $       231,981    $           -      $           -       $    1,424,750
 Commission - ProductCo                                                               -                 -                  -               30,000                -                  -               90,000
 Inventory Purchases - ProductCo                                                      -                 -                  -                  -                  -                  -              300,000
 Contractors - ProductCo                                                           40,500            87,400             40,500             44,500            148,750             44,500          1,006,346
 Key Consultants - ProductCo                                                          -                 -                  -                  -                8,889                -               26,667
 Rent - ProductCo                                                                     -                 -                  -                  -               47,500                -              142,500
 Marketing - ProductCo                                                                -                 -                  -                  -              724,000                -            2,222,000
 Insurance - ProductCo                                                             16,068            20,000             20,000             20,000             23,907             20,000            289,102
 Logistics - ProductCo                                                            128,982           128,982            128,982            128,982            128,982            128,982          1,676,761
 Professionals - ProductCo                                                         50,000               -                  -                  -               50,000                -              186,700
 Technology - ProductCo                                                             8,900             5,040                -                  -               24,400                -              172,572
 Utilities - ProductCo                                                                -                 -                  -                  -                3,000                -               10,129
 Other Expenses, Vendors - ProductCo                                               75,000            75,000             75,000             75,000             90,000             75,000          1,072,350
 Sales tax - ProductCo                                                                -                 -                  -                  -              100,000                -              300,000
 Payments to UK Affiliate(1) - ProductCo                                           30,000               -               30,000                -               30,000                -              180,000
 Management Payroll - Transfer to HoldCo - ProductCo                                  -              75,000                -               75,000                -                  -              435,372
 Cross-Border Vendors - ProductCo                                                  16,750            16,750             16,750             16,750             26,750             16,750            231,000
                        (2)
 BK Professional Fees - ProductCo                                                     -                 -                  -                  -                  -                  -                  -
 US Trustee Fees - ProductCo                                                          -                 -                  -                  -                  -                  -                  -

   TOTAL PRODUCTCO DISBURSEMENTS                                          $       366,200   $       640,152    $       311,232    $       622,212    $      1,406,177   $       285,232     $    9,766,248

PRODUCTCO - CASH ROLLFORWARD
Beginning PRODUCTCO Cash Balance                                          $     1,045,396 $        1,378,427 $        1,742,939 $        2,103,241 $        2,408,665 $        1,706,963    $    1,136,840
(+) ProductCo Receipts                                                            699,231          1,004,664            671,534            927,636            704,475          1,009,617        11,060,756
(-) ProductCo Disbursements                                                      (366,200)          (640,152)          (311,232)          (622,212)        (1,406,177)          (285,232)       (9,766,248)
Ending ProductCo Cash Balance                                             $     1,378,427   $      1,742,939   $      2,103,241   $      2,408,665   $      1,706,963   $      2,431,348    $    2,431,348

Change in ProductCo Cash from Previous Week                               $       333,031   $       364,512    $       360,303    $       305,424    $       (701,703) $        724,385




Inventory Rollforward
Beginning Inventory                                                       $    15,101,981 $       14,782,265 $       14,293,477 $       13,974,485 $       13,485,697 $       13,166,705    $   17,960,993
(+) Purchases                                                                         -                  -                  -                  -                  -                  -             300,000
(-) Cost of Goods                                                                (319,716)          (488,788)          (318,992)          (488,788)          (318,992)          (534,392)       (5,628,680)
= Ending Inventory                                                        $    14,782,265 $       14,293,477 $       13,974,485 $       13,485,697 $       13,166,705 $       12,632,313    $   12,632,313
                                     (3)
Accounts Receivable Rollforward
Beginning AR                                                              $     4,563,401 $        4,523,603 $        4,456,318 $        4,442,709 $        4,452,452 $        4,410,902    $     4,467,123
(+) Sales (Domestic Commercial, Retail, Government, Intl. Dist.)                  525,877            524,370            524,370            524,370            524,370            616,829          6,922,347
(-) Collections (Domestic Commercial, Retail, Government, Intl. Dist.)           (565,676)          (591,654)          (537,979)          (514,626)          (565,920)          (591,910)        (6,953,649)
= Ending AR                                                               $     4,523,603 $        4,456,318 $        4,442,709 $        4,452,452 $        4,410,902 $        4,435,821    $     4,435,821

Notes
(1) Current payroll and current VAT / other taxes. There is approximately an additional 80,000 GBP outstanding related to VAT.
(2) There are no bankruptcy professional payments in this forecast.
(3) The AR Rollforward does not include sales and collections activity relating to Ecommerce and Amazon.
- This budget does not reflect the proceeds or use of any DIP financing nor carve-outs arising thereof.
- Information has been sourced from management and the Company's books and records. This information has not been audited or independently verified.
               Case 8:22-bk-10948-SC                              Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                                                             Desc
                                                                  Main Document     Page 8 of 16
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 17, 2022
$USD
                            Week -->                                       Week 2             Week 3             Week 4             Week 5              Week 6             Week 7             Week 8
                            From -->                                      6/13/2022          6/20/2022          6/27/2022           7/4/2022           7/11/2022          7/18/2022          7/25/2022
                         Week-Ending -->                                  6/19/2022          6/26/2022           7/3/2022          7/10/2022           7/17/2022          7/24/2022          7/31/2022


HOLDCO
Beginning HoldCo Cash Balance                                         $        114,584   $        146,136   $       121,520    $       142,020    $        148,520    $       142,520    $       127,070

 Education/CORE - ExperienceCo                                        $         50,000   $         50,000   $         50,000   $         50,000   $          50,000   $         50,000   $         50,000
 Apple Subscriptions - ExperienceCo                                                -                  -               40,000                -                   -                  -               40,000
 Management Payroll - InterCo Transfer from ProductCo                           60,372                -               75,000                -                75,000                -               75,000
 Other                                                                             -                  -                  -                  -                   -                  -                  -

  TOTAL HOLDCO SOURCES                                                $        110,372   $         50,000   $       165,000    $         50,000   $        125,000    $         50,000   $       165,000
 Payroll, Payroll Tax & Benefits- HoldCo                              $         60,372   $            -     $         75,000   $            -     $          75,000   $            -     $         75,000
 Contractors - HoldCo                                                              -               13,500             13,500             13,500              13,500             13,500             13,500
 Key Consultants - HoldCo                                                          -                  -               12,500                -                12,500                -               12,500
 UK Studio Rent - HoldCo                                                           -                3,000                -                  -                   -                3,000                -
 Marketing - HoldCo                                                             18,448             17,500             17,500             17,500              17,500             17,500             17,500
 Technology - HoldCo                                                               -                  -                1,000                -                   -                  -                  -
 Other Expenses - HoldCo                                                           -               12,500             12,500             12,500              12,500             12,500             12,500
 Growth Initiative - HoldCo                                                        -               28,116             12,500                -                   -               18,950                -

  TOTAL HOLDCO DISBURSEMENTS                                          $         78,820   $         74,616   $       144,500    $         43,500   $        131,000    $         65,450   $       131,000

HOLDCO - CASH ROLLFORWARD
Beginning HOLDCO Cash Balance                                         $        114,584 $          146,136 $          121,520 $         142,020 $            148,520 $         142,520 $           127,070
(+) HoldCo Receipts                                                            110,372             50,000            165,000            50,000              125,000            50,000             165,000
(-) HoldCo Disbursements                                                       (78,820)           (74,616)          (144,500)          (43,500)            (131,000)          (65,450)           (131,000)
Ending HoldCo Cash Balance                                            $        146,136   $        121,520   $       142,020    $       148,520    $        142,520    $       127,070    $       161,070

Change in HoldCo Cash from Previous Week                              $         31,552   $        (24,616) $          20,500   $          6,500   $          (6,000) $         (15,450) $          34,000




Notes
(1) Current payroll and current VAT / other taxes. There is approximately an additional 80,000 GBP outstanding related to VAT.
(2) There are no bankruptcy professional payments in this forecast.
(3) The AR Rollforward does not include sales and collections activity relating to Ecommerce and Amazon.
- This budget does not reflect the proceeds or use of any DIP financing nor carve-outs arising thereof.
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                                                                   Main Document     Page 9 of 16
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 17, 2022
$USD
                            Week -->                                      Week 9             Week 10            Week 11            Week 12             Week 13            Week 14
                                                                                                                                                                                         Current Rolling
                            From -->                                      8/1/2022           8/8/2022           8/15/2022          8/22/2022           8/29/2022          9/5/2022
                                                                                                                                                                                           13 Weeks
                         Week-Ending -->                                  8/7/2022           8/14/2022          8/21/2022          8/28/2022           9/4/2022           9/11/2022


HOLDCO
Beginning HoldCo Cash Balance                                         $        161,070   $        154,070   $        148,070   $        132,620   $        126,620    $       159,620    $      114,584

 Education/CORE - ExperienceCo                                        $         50,000   $         50,000   $         50,000   $         50,000   $          50,000   $         50,000   $      650,000
 Apple Subscriptions - ExperienceCo                                                -                  -                  -                  -                40,000             40,000          160,000
 Management Payroll - InterCo Transfer from ProductCo                              -               75,000                -               75,000                 -                  -            435,372
 Other                                                                             -                  -                  -                  -                   -                  -                -

  TOTAL HOLDCO SOURCES                                                $         50,000   $        125,000   $         50,000   $        125,000   $          90,000   $         90,000   $    1,245,372
 Payroll, Payroll Tax & Benefits- HoldCo                              $            -     $         75,000   $            -     $         75,000   $             -     $            -     $      435,372
 Contractors - HoldCo                                                           13,500             13,500             13,500             13,500              13,500             13,500          162,000
 Key Consultants - HoldCo                                                          -               12,500                -               12,500                 -               12,500           75,000
 UK Studio Rent - HoldCo                                                           -                  -                3,000                -                   -                  -              9,000
 Marketing - HoldCo                                                             17,500             17,500             17,500             17,500              17,500             17,500          228,448
 Technology - HoldCo                                                             1,000                -                  -                  -                 1,000                -              3,000
 Other Expenses - HoldCo                                                        12,500             12,500             12,500             12,500              12,500             12,500          150,000
 Growth Initiative - HoldCo                                                     12,500                -               18,950                -                12,500                -            103,516

  TOTAL HOLDCO DISBURSEMENTS                                          $         57,000   $        131,000   $         65,450   $        131,000   $          57,000   $         56,000   $    1,166,336

HOLDCO - CASH ROLLFORWARD
Beginning HOLDCO Cash Balance                                         $        161,070 $          154,070 $          148,070 $          132,620 $          126,620 $          159,620    $       114,584
(+) HoldCo Receipts                                                             50,000            125,000             50,000            125,000             90,000             90,000          1,245,372
(-) HoldCo Disbursements                                                       (57,000)          (131,000)           (65,450)          (131,000)           (57,000)           (56,000)        (1,166,336)
Ending HoldCo Cash Balance                                            $        154,070   $        148,070   $        132,620   $        126,620   $        159,620    $       193,620    $      193,620

Change in HoldCo Cash from Previous Week                              $          (7,000) $          (6,000) $         (15,450) $          (6,000) $          33,000   $         34,000




Notes
(1) Current payroll and current VAT / other taxes. There is approximately an additional 80,000 GBP outstanding related to VAT.
(2) There are no bankruptcy professional payments in this forecast.
(3) The AR Rollforward does not include sales and collections activity relating to Ecommerce and Amazon.
- This budget does not reflect the proceeds or use of any DIP financing nor carve-outs arising thereof.
- Information has been sourced from management and the Company's books and records. This information has not been audited or independently verified.
           Case 8:22-bk-10948-SC                              Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                                                            Desc
                                                              Main Document    Page 10 of 16
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 17, 2022
$USD
                       Week -->                                Week 2             Week 3             Week 4             Week 5             Week 6             Week 7             Week 8
                        From -->                              6/13/2022          6/20/2022          6/27/2022           7/4/2022          7/11/2022          7/18/2022          7/25/2022
                    Week-Ending -->                           6/19/2022          6/26/2022           7/3/2022          7/10/2022          7/17/2022          7/24/2022          7/31/2022
CONSOLIDATED
Beginning TOTAL Cash Balance                              $      1,251,424   $      1,512,978   $      1,454,815   $       964,931    $      1,084,512   $      1,529,657   $      1,837,575
 Ecommerce NA & UK - ProductCo                            $        102,714   $       102,714    $       108,835    $       108,835    $       108,835    $       108,835    $       108,835
 Amazon FBA International - ProductCo                                  -              24,989                -               24,989                -               24,989                -
 Amazon FBA NA - ProductCo                                         312,235               -              436,970                -              436,970                -              436,970
 Transfers from Non-Debtor Affiliate (Japan)                           -                 -                5,000                -                  -                  -                5,000
 Accounts Receivables Collections - ProductCo                      531,169           482,981            479,037            526,556            550,738            500,775            514,626
 Education/CORE - ExperienceCo                                      50,000            50,000             50,000             50,000             50,000             50,000             50,000
 Apple Subscriptions - ExperienceCo                                    -                 -               40,000                -                  -                  -               40,000
 Management Payroll - InterCo Transfer from ProductCo               60,372               -               75,000                -               75,000                -               75,000
 Other - HoldCo                                                        -                 -                  -                  -                  -                  -                  -
  TOTAL SOURCES                                           $      1,056,490   $       660,684    $      1,194,842   $       710,381    $      1,221,544   $       684,600    $      1,230,432

 Payroll, Payroll Tax & Benefits                          $        304,646   $           -      $       317,267    $           -      $       317,267    $           -      $       306,981
 Commission                                                            -                 -               30,000                -                  -                  -               30,000
 Inventory Purchases                                                   -             300,000                -                  -                  -                  -                  -
 Contractors                                                       102,796            37,000            166,250             54,000            100,900             54,000            166,250
 Key Consultants                                                       -                 -               21,389                -               12,500                -               21,389
 Rent                                                                  -               3,000             47,500                -                  -                3,000             47,500
 Marketing                                                          68,448            67,500            641,500             17,500             17,500             17,500            791,500
 Insurance                                                          37,381            20,000             27,839             16,068             20,000             20,000             27,839
 Logistics                                                         128,982           128,982            128,982            128,982            128,982            128,982            128,982
 Professionals                                                         -                 -               18,350             50,000                -                  -               18,350
 Technology                                                          4,332               -               25,400             90,000                -                  -               15,500
 Utilities                                                           1,129               -                3,000                -                  -                  -                3,000
 Payments to UK Affiliate(1)                                           -              30,000                -               30,000                -               30,000                -
 Sales Tax                                                             -                 -                  -              100,000                -                  -              100,000
 Other Expenses, Vendors                                            86,850            75,000            130,500             75,000             75,000             75,000             90,000
 Growth Initiative                                                     -              28,116             12,500                -                  -               18,950                -
 Miscellaneous, Other                                                  -              12,500             12,500             12,500             12,500             12,500             12,500
 Management Payroll - Transfer to HoldCo                            60,372               -               75,000                -               75,000                -               75,000
 Cross-Border Vendors                                                  -              16,750             26,750             16,750             16,750             16,750             26,750
 BK Professional Fees(2)                                               -                 -                  -                  -                  -                  -                  -
 US Trustee Fees                                                       -                 -                  -                  -                  -                  -                  -
  TOTAL DISBURSEMENTS                                     $        794,936   $       718,848    $      1,684,726   $       590,800    $       776,399    $       376,682    $      1,861,540

Net Cash                                                  $        261,554   $        (58,163) $        (489,884) $        119,581    $       445,145    $       307,918    $       (631,109)

TOTAL - CASH ROLLFORWARD
Beginning TOTAL Cash Balance                              $      1,251,424 $        1,512,978 $        1,454,815 $          964,931 $        1,084,512 $        1,529,657 $        1,837,575
(+) Total Receipts                                               1,056,490            660,684          1,194,842            710,381          1,221,544            684,600          1,230,432
(-) Total Disbursements                                           (794,936)          (718,848)        (1,684,726)          (590,800)          (776,399)          (376,682)        (1,861,540)
Ending TOTAL Cash Balance                                 $      1,512,978   $      1,454,815   $       964,931    $      1,084,512   $      1,529,657   $      1,837,575   $      1,206,467

Inventory Rollforward
Beginning Inventory                                       $     17,960,993 $       17,469,394 $       17,452,323 $       16,881,997 $       16,562,152 $       15,991,989 $       15,672,143
(+) Purchases                                                          -              300,000                -                  -                  -                  -                  -
(-) Cost of Goods                                                 (491,599)          (317,070)          (570,326)          (319,845)          (570,163)          (319,845)          (570,163)
= Ending Inventory                                        $     17,469,394 $       17,452,323 $       16,881,997 $       16,562,152 $       15,991,989 $       15,672,143 $       15,101,981

                                  (3)
Accounts Receivable Rollforward
Beginning AR                                              $      4,467,123 $        4,462,171 $        4,505,407 $        4,552,588 $        4,551,909 $        4,527,048 $        4,552,150
(+) Sales                                                          526,218            526,218            526,218            525,877            525,877            525,877            525,877
(-) Collections                                                   (531,169)          (482,981)          (479,037)          (526,556)          (550,738)          (500,775)          (514,626)
= Ending AR                                               $      4,462,171 $        4,505,407 $        4,552,588 $        4,551,909 $        4,527,048 $        4,552,150 $        4,563,401

Notes
(1) Current payroll and current VAT / other taxes. There is approximately an additional 80,000 GBP outstanding related to VAT.
(2) There are no bankruptcy professional payments in this forecast.
(3) The AR Rollforward does not include sales and collections activity relating to Ecommerce and Amazon. Ecommerce and Amazon revenue and collections are recorded contemporaneously.
- This budget does not reflect the proceeds or use of any DIP financing nor carve-outs arising thereof.
- Information has been sourced from management and the Company's books and records. This information has not been audited or independently verified.
           Case 8:22-bk-10948-SC                              Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                                                            Desc
                                                              Main Document    Page 11 of 16
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 17, 2022
$USD
                       Week -->                               Week 9             Week 10            Week 11            Week 12            Week 13            Week 14
                                                                                                                                                                             Current Rolling
                        From -->                              8/1/2022           8/8/2022           8/15/2022          8/22/2022          8/29/2022           9/5/2022
                                                                                                                                                                               13 Weeks
                    Week-Ending -->                           8/7/2022           8/14/2022          8/21/2022          8/28/2022           9/4/2022          9/11/2022
CONSOLIDATED
Beginning TOTAL Cash Balance                              $      1,206,467   $      1,532,497   $      1,891,009   $      2,235,862   $      2,535,286   $      1,866,583    $     1,251,424
 Ecommerce NA & UK - ProductCo                            $        108,566   $       108,566    $       108,566    $       108,566    $       108,566    $       121,338     $     1,413,769
 Amazon FBA International - ProductCo                               24,989               -               24,989                -               24,989                -               149,936
 Amazon FBA NA - ProductCo                                             -             304,444                -              304,444                -              296,369           2,528,402
 Transfers from Non-Debtor Affiliate (Japan)                           -                 -                  -                  -                5,000                -                15,000
 Accounts Receivables Collections - ProductCo                      565,676           591,654            537,979            514,626            565,920            591,910           6,953,649
 Education/CORE - ExperienceCo                                      50,000            50,000             50,000             50,000             50,000             50,000             650,000
 Apple Subscriptions - ExperienceCo                                    -                 -                  -                  -               40,000             40,000             160,000
 Management Payroll - InterCo Transfer from ProductCo                  -              75,000                -               75,000                -                  -               435,372
 Other - HoldCo                                                        -                 -                  -                  -                  -                  -                   -
  TOTAL SOURCES                                           $        749,231   $      1,129,664   $       721,534    $      1,052,636   $       794,475    $      1,099,617    $    12,306,128

 Payroll, Payroll Tax & Benefits                          $            -     $       306,981    $           -      $       306,981    $           -      $           -       $     1,860,122
 Commission                                                            -                 -                  -               30,000                -                  -                90,000
 Inventory Purchases                                                   -                 -                  -                  -                  -                  -               300,000
 Contractors                                                        54,000           100,900             54,000             58,000            162,250             58,000           1,168,346
 Key Consultants                                                       -              12,500                -               12,500              8,889             12,500             101,667
 Rent                                                                  -                 -                3,000                -               47,500                -               151,500
 Marketing                                                          17,500            17,500             17,500             17,500            741,500             17,500           2,450,448
 Insurance                                                          16,068            20,000             20,000             20,000             23,907             20,000             289,102
 Logistics                                                         128,982           128,982            128,982            128,982            128,982            128,982           1,676,761
 Professionals                                                      50,000               -                  -                  -               50,000                -               186,700
 Technology                                                          9,900             5,040                -                  -               25,400                -               175,572
 Utilities                                                             -                 -                  -                  -                3,000                -                10,129
 Payments to UK Affiliate(1)                                        30,000               -               30,000                -               30,000                -               180,000
 Sales Tax                                                             -                 -                  -                  -              100,000                -               300,000
 Other Expenses, Vendors                                            75,000            75,000             75,000             75,000             90,000             75,000           1,072,350
 Growth Initiative                                                  12,500               -               18,950                -               12,500                -               103,516
 Miscellaneous, Other                                               12,500            12,500             12,500             12,500             12,500             12,500             150,000
 Management Payroll - Transfer to HoldCo                               -              75,000                -               75,000                -                  -               435,372
 Cross-Border Vendors                                               16,750            16,750             16,750             16,750             26,750             16,750             231,000
 BK Professional Fees(2)                                               -                 -                  -                  -                  -                  -                   -
 US Trustee Fees                                                       -                 -                  -                  -                  -                  -                   -
  TOTAL DISBURSEMENTS                                     $        423,200   $       771,152    $       376,682    $       753,212    $      1,463,177   $       341,232     $    10,932,584

Net Cash                                                  $        326,031   $       358,512    $       344,853    $       299,424    $       (668,703) $        758,385     $     1,373,544

TOTAL - CASH ROLLFORWARD
Beginning TOTAL Cash Balance                              $      1,206,467 $        1,532,497 $        1,891,009 $        2,235,862 $        2,535,286 $        1,866,583    $     1,251,424
(+) Total Receipts                                                 749,231          1,129,664            721,534          1,052,636            794,475          1,099,617         12,306,128
(-) Total Disbursements                                           (423,200)          (771,152)          (376,682)          (753,212)        (1,463,177)          (341,232)       (10,932,584)
Ending TOTAL Cash Balance                                 $      1,532,497   $      1,891,009   $      2,235,862   $      2,535,286   $      1,866,583   $      2,624,968    $     2,624,968

Inventory Rollforward
Beginning Inventory                                       $     15,101,981 $       14,782,265 $       14,293,477 $       13,974,485 $       13,485,697 $       13,166,705    $    17,960,993
(+) Purchases                                                          -                  -                  -                  -                  -                  -              300,000
(-) Cost of Goods                                                 (319,716)          (488,788)          (318,992)          (488,788)          (318,992)          (534,392)        (5,628,680)
= Ending Inventory                                        $     14,782,265 $       14,293,477 $       13,974,485 $       13,485,697 $       13,166,705 $       12,632,313    $    12,632,313

                                  (3)
Accounts Receivable Rollforward
Beginning AR                                              $      4,563,401 $        4,523,603 $        4,456,318 $        4,442,709 $        4,452,452 $        4,410,902    $      4,467,123
(+) Sales                                                          525,877            524,370            524,370            524,370            524,370            616,829           6,922,347
(-) Collections                                                   (565,676)          (591,654)          (537,979)          (514,626)          (565,920)          (591,910)         (6,953,649)
= Ending AR                                               $      4,523,603 $        4,456,318 $        4,442,709 $        4,452,452 $        4,410,902 $        4,435,821    $      4,435,821

Notes
(1) Current payroll and current VAT / other taxes. There is approximately an additional 80,000 GBP outstanding related to VAT.
(2) There are no bankruptcy professional payments in this forecast.
(3) The AR Rollforward does not include sales and collections activity relating to Ecommerce and Amazon. Ecommerce and Amazon revenue and collections are recorded contemporaneously.
- This budget does not reflect the proceeds or use of any DIP financing nor carve-outs arising thereof.
- Information has been sourced from management and the Company's books and records. This information has not been audited or independently verified.
        Case 8:22-bk-10948-SC                      Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                                     Desc
                                                   Main Document    Page 12 of 16



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034.

A true and correct copy of the foregoing document entitled (specify): SUPPLEMENT TO DEBTORS’ EMERGENCY
MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE DEBTORS TO USE CASH COLLATERAL PURSUANT TO
11 U.S.C. §§ 361, 362 AND 363 AND GRANTING ADEQUATE PROTECTION AND RELATED RELIEF will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 17, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 17, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 17, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

SERVED BY OVERNIGHT MAIL,
John Hutchinson
665 Blair Avenue
Piedmont CA 94611
                                                               Service information BY OVERNIGHT MAIL continued on attached page


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:22-bk-10948-SC                      Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59                                     Desc
                                                   Main Document    Page 13 of 16



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 17, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
         Case 8:22-bk-10948-SC         Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59            Desc
                                       Main Document    Page 14 of 16
                                         Counsel for Creative Artists Agency   Michael J Hauser
                                         Michael I. Gottfried, Esq. RSN        United States Trustee
In re TRX Holdco, LLC                    Elkins Kalt Weintraub Reuben          411 W Fourth St Suite 7160
File No. 9738                            Gartside LLP 10345 W. Olympic Blvd.   Santa Ana, CA 92701-4593
RSN UST, 20 Largest, Secured             Los Angeles, CA 90064


                                         Cole Schotz P.C.                      Creative Artists Agency
Baker Tilly US, LLP                      25 Main Street P.O. Box 800           Attn: Jeffrey Freedman
10 Terrace Court PO Box 7398             Hackensack, NJ 07602                  2000 Avenue of the Stars
Madison, WI 53707-7398                                                         Los Angeles, CA 90067


JMBM LLP                                 Morrison & Morrison                   Sterling Legal Solutions, Inc.
1900 Avenue of the Stars                 222 Souther Riverside Plaza           Attn: Stephanie Sterling
Los Angeles, CA 90067                    Chicago, IL 60606                     26895 Aliso Creek Rd., B-129
                                                                               Aliso Viejo, CA 92656


UDR-Eight 80                             UDR-Eight 80                          Sterling Legal Solutions, Inc.
1590 Adams Avenue                        Agent for Service of Process          Agent for Service of Process
PO Box 2350                              330 N. Brand Blvd., Suite 700         720 14th Street
Costa Mesa, CA 92628                     Glendale, CA 91203                    Sacramento, CA 95814

                                         OTHER




Farmers & Merchants Bank                 Farmers & Merchants Bank
2421 East Coast Hwy                      Attn: Christine M Bowman
Corona del Mar, CA 92625                 302 Pine Avenue
                                         Long Beach, CA 90802


                                                      SECURED




Counsel for Woodforest National Bank     Woodforest National Bank              Woodforest National Bank
Katten Muchin Rosenmann LLP              Attn: CMB Loan Operations             Attn: David A. Macdonald
Attn: Jan Harris Cate, Esq.              25231 Grogans Mill Road, 6th Floor    1330 Lake Robbins Drive, Suite 500
515 South Flower Street, Suite 1000      The Woodlands, TX 77380               The Woodlands, TX 77380
Los Angeles, CA 90071

Counsel for Woodforest National Bank
ReedSmith
Marsha Houston/Christopher Rivas
355 South Grand Avenue, Suite 2900
Los Angeles, CA, 90071
         Case 8:22-bk-10948-SC       Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59           Desc
                                     Main Document    Page 15 of 16
In re Fitness Anywhere LLC             Exemplar Design                    Michael J Hauser
File No. 9744                          4680 Parkway Drive                 United States Trustee
RSN UST, 20 Largest and Secured        Suite 300                          411 W Fourth St Suite 7160
Served by US Mail or NEF if Marked     Mason, OK 45040                    Santa Ana, CA 92701-4593
with an *

Exemplar Design                        Core Health & Fitness, LLC         Stephen Gould Corporation
4680 Parkway Drive Suite 300           4400 Northeast 77th Avenue         35 South Jefferson Road
Mason, OH 45040                        Suite 300                          Whippany, NJ 07981
                                       Manufacturer Land America
                                       Vancouver, WA 98662

Flexport Inc                           UPS Plan 0386NE                    Duane Morris LLP
P.O. Box 207244                        55 Glenlake Parkway NE             30 South 17th Street
Dallas, TX 75320-7244                  Atlanta, GA 30328                  Philadelphia, PA 19103-4196



Buy Box Experts                        MAN Staffing, LLC                  Syzygy Digital Marketing, Inc
3020 N Cullen Ct. Pleasant             550 East Del Amo Boulevard         41 Flatbush Avenue
Grove, UT 84062                        Carson, CA 90746                   Brooklyn, NY 11217



Lahlouh Inc                            US Customs and Border Protection   McCollister's Transportation Group, Inc
Attn: H. John Lahlouh                  PO BOX 979126                      8 Terri Lane
1649 Adrian Road                       St. Louis, MO 63197-9000           Burlington, NJ 08016
Burlingame, CA 94010


NetSuite Inc                           Google                             AMEX Corp Card
500 Oracle Parkway                     P.O. Box 39000                     P.O. Box 0001
Redwood City, CA 94065                 San Francisco, CA 94139            Los Angeles, CA 90096



The Trade Desk                         Dirbos Inc.                        Redwood Supply Chain Solutions
42 N Chestnut St.                      27758 Santa Margarita Pkwy         1765 North Elston Avenue Suite 216
Ventura, CA 93001                      Suite 366                          Chicago, IL 60642
                                       Mission Viejo, CA 92691


USA Global Logistics LLC               ISUPPORT WORLDWIDE LLC             Core Health & Fitness, LLC
255 Madsen Drive                       1019 West James St                 Agent for Service of Process
Bloomingdale, IL 60108                 Kent, WA 98032                     330 N. Brand Blvd, Ste 700
                                                                          Glendale, CA 91203


Stephen Gould Corporation              Flexport Inc.                      United Parcel Service, Inc.
Agent for Service of Process           Agent for Service of Process       Agent for Service of Process
2710 Gateway Oaks Drive                5716 Corsa Ave.                    2710 Gateway Oaks Dr.
Ste 150N                               Ste 110                            Ste 150N
Sacramento, CA 95833                   Westlake Village, CA 91362         Sacramento, CA 95833

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2710 gateway Oaks Dr.                  Ste 150N                           Ste 150N
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          Case 8:22-bk-10948-SC        Doc 75 Filed 06/17/22 Entered 06/17/22 16:25:59             Desc
                                       Main Document    Page 16 of 16

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